Case 2:21-cv-01540-VAP-MAR Document 18 Filed 10/26/21 Page 1 of 2 Page ID #:109
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No. 2:21-cv-1540-VAP (MAR)                                               Date: October 26, 2021
 Title      Leonardo Magallon v. Bureau of Prisons, et al.

 Present: The Honorable: MARGO A. ROCCONI, UNITED STATES MAGISTRATE JUDGE
                  ERICA BUSTOS                                                N/A
                   Deputy Clerk                                      Court Reporter / Recorder

         Attorneys Present for Plaintiffs:  Attorneys Present for Defendants:
                      N/A                                 N/A
 Proceedings: (In Chambers) SECOND ORDER TO SHOW CAUSE RE: DISMISSAL
               FOR LACK OF PROSECUTION

          On July 23, 2021, this Court issued an Order to Show Cause (“OSC”) ordering Plaintiff to
 show by August 13, 2021 why this action should not be dismissed for failure to prosecute. ECF
 Docket No. (“Dkt.”) 15. Plaintiff was warned that “[f]ailure to respond to the Court’s Order may
 result in the dismissal of the action.” Id. (emphasis added). On August 17, 2021, Plaintiff filed a
 letter with the Court regarding his Request for an Extension of Time and requesting “the Clerk of
 Court to revise Plaintiff’s request for an extension to file a second amended complaint.” Dkt. 16 at
 2. The Court construed this filing as a second Request for Extension of Time, which the Court
 granted on September 3, 2021, giving Plaintiff thirty (30) days to respond with one (1) of the three
 (3) options listed in the July 23, 2021 OSC. Dkt. 17 at 1.

          To date, Plaintiff has failed to reply to the Court’s September 3, 2021 Minute Order, which
 explicitly cautioned that Plaintiff’s “failure to comply with this Order will result in the dismissal of
 this Action.” Id. However, considering both the delayed filing of the Court’s grant of Plaintiff’s
 Request for an Extension and Plaintiff’s subsequent correspondence with the Court, the Court will
 give Plaintiff an additional thirty (30) days to reply. Accordingly, Plaintiff must respond within
 thirty (30) days of this Order, by November 25, 2021 with one (1) of the three (3) options listed
 in the July 23, 2021 OSC:

     (1) Plaintiff shall file a Second Amended Complaint that addresses the deficiencies identified in
         the Court’s February 12, 2021 ODLA;
     (2) Plaintiff shall provide the Court with an explanation as to why he has failed to file a Second
         Amended Complaint; or
     (3) Plaintiff may request a voluntary dismissal of the action pursuant to Federal Rule of
         Civil Procedure 41(a). The Clerk of Court is directed to attach a Notice of Dismissal
         form for Plaintiff’s convenience.

 Dkt. 15. Plaintiff’s failure to comply with this Order will result in the dismissal of this Action.

         IT IS SO ORDERED.
                                                                                                    :
                                                                       Initials of Preparer        eb


 CV-90 (03/15)                             Civil Minutes – General                               Page 1 of 1
      Case 2:21-cv-01540-VAP-MAR Document 18 Filed 10/26/21 Page 2 of 2 Page ID #:110




                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                     CASE NUMBER


                                                     Plaintiff(s),
                               v.
                                                                           NOTICE OF DISMISSAL PURSUANT
                                                                            TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    G This action is dismissed by the Plaintiff(s) in its entirety.

    G The Counterclaim brought by Claimant(s)                                                                                is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                                is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                                           is
      dismissed by the Claimant(s) in its entirety.

    G ONLY Defendant(s)

         is/are dismissed from (check one) G Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         brought by                                                                                                      .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




                 Date                                                 Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)           NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
